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  UNITED STATES DISTRICT COURT
  SOUTHER N DISTRICT OF NEW YORK
  -------------------------------------------------------------- X

  ADOU KOUADIO ,
                                                                     OPINION AND ORDER
                                         Petitioner,                 GRANTIN G PETITION OF
              -against-                                              HABEAS CORPUS

  THOMAS DECKER, as Field Office Director,                           18 Civ. 7684 (AKH)
  New York City Field Office, U.S. Immigration and
  Customs Enforcement; KIRSTJEN NIELSEN, as
  Secretary, U.S. Departmen t of Homeland Security;                      USDCSDNY
  and JEFFERSO N B. SESSIONS III, as Attorney                            DOCUMENT
  General, U.S. Departmen t of Justice,
                                                                        ·ELECTRONICALt\' FILED,
                                         Respondents.                    DOC#: _ _ _ _ _,___ _
                                                                         DATEHLE D:       \1.·2.1·2 0\(
  -------------------------------------------------------------- X

ALVIN K. HELLERS TEIN, U.S.D.J.:

                 Petitioner Adou Kouadio ("Petitioner"), a citizen of Ivory Coast seeking asylum

in the United States, was taken into custody at the U.S. border on February 21, 2016. He has

been detained ever since-appr oximately 34 months at present writing, while his petition for

asylum remains pending. He petitions for habeas corpus, claiming that his indefinite detention

without an opportunity for bail violates the Due Process Clause of the Fifth Amendmen t. I grant

the petition, holding that Petitioner's continued detention without a bond bearing violates his due

process rights as an arriving non-residen t alien, limited as those rights are.

    I. Background

             a. Immigration Proceedings

                 For the purposes of this opinion, I accept as true the facts alleged in the First

Amended Petition. On February 21, 2016, Petitioner was detained at the El Paso, Texas border

crossing. First Amended Petition ("Pet."), ECF No. 13, ,r 12. He expressed an intent to seek




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 asylum, which entitled him to a credible-fear interview under 8 U.S.C. § 1225(b)(l)(B). Pet.

 ,r,r 12-13.   At the conclusion of that interview, on March 14, 2016, a U.S. Citizenship and

 Immigration Services asylum officer found that Petitioner had demonstrated a credible fear of

 persecution in Ivory Coast based on his political opinions. Pet.       ,r 13.
                   On March 17, 2016, Immigration and Customs Enforcement ("ICE") served

 Petitioner with a Notice to Appear charging him as a removable "arriving alien" under the

Immigration and Nationality Act ("INA"), 8 U.S.C. § 1 l 82(a)(7)(A)(i)(I), and commencing

removal proceedings against him. Pet. ,r 14. ICE interviewed Petitioner and, on April 11, denied

his parole request and ordered him detained, stating that he had failed to establish that he was not

a flight risk and that he was not a danger to the community or the United States'

security. Government's Opposition Memorandum ("Opp."), ECF No. 17, at 6; see also 8 U.S.C.

§ 1182(d)(5)(A).

                  Petitioner's removal proceedings in Texas were subject to repeated

delays. Petitioner appeared before an immigration judge ("IJ") on May 3, 2016, Pet.             ,r 15, and,
again, on May 20 with counsel. Pet.     ,r 16.   The government failed to engage a Twi language

interpreter, so his case was adjourned to July 6, 2016. Pet. ,r 16. On July 6, Petitioner submitted

his application for asylum and a merits hearing was scheduled for August 24. Pet. ,r 17. The

absence of an interpreter caused Petitioner's merits hearing to be delayed twice more, first on

August 24 and again on September 28. Pet.        ,r,r 18-19.   Petitioner then moved to change venue to

New York in order to have better access to an interpreter and to his family. Pet.      ,r 19.    The

motion was granted on October 25. Opp. at 4. By that time, Petitioner had been detained for

eight months.




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                   At Petitione r's first hearing at the Varick Street Immigrat ion Court in New York

 City, on Novembe r 29, 2016, Petitione r's case was adjourned to Decembe r 5 to allow Petitioner

 to secure new counsel in New York. Pet.      if 20. Petitione r's December 5 hearing was adjourned
 after ICE failed to produce Petitioner. Pet.   ,r 21.   Petitioner appeared with counsel on January

 12, 2017, at which time the IJ scheduled Petitione r's merits hearing for April 11, 2017. Pet.

 ,r 22.   Petitione r's counsel requested and obtained adjournment of the April 11 hearing date to

 April 26. Opp. at 4. Petitione r's merits hearing began on April 26 and was continued to May 12

 to allow more time for the presentation of additional evidence. Pet.         ,r 23.   On May 19, 201 7, an

 IJ denied Petitione r's application and ordered his removal to Ivory Coast. Pet.          ,r 25.   He then had
 been detained for 15 months.

                  Petitioner timely appealed the decision to the Board of Immigrat ion Appeals,

 which dismissed his appeal on October 13,2017. Pet.         ,r 26.    On Novembe r 13, 2017, Petitioner

 filed a petition for review with the Second Circuit. Pet.    ,r 27.    The Second Circuit ordered his

removal stayed on Septembe r 21, 2018, Pet.     ,r 28, and his appeal remains pending.          On October

 13, 2018, Petitione r filed an amended petition for habeas corpus pursuant to 28 U.S.C. § 2241,

asking this court to grant immediate release or, in the alternative, a hearing at which the

governm ent must demonstrate why his continued detention is justified (ECF No. 13).

                  Petitioner has a clean record, never having been arrested or convicted.

Petitione r's First Reply Memoran dum of Law, ECF No. 20, at 19. There is little risk of flight,

since he seeks asylum within the United States, and little risk of danger to the community,

judging from his lack of a prior criminal history. Yet, Petitioner has suffered 34 months of

detention without an opportunity for a bond hearing while waiting for a final decision on his

petition for asylum.




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             b. Treaty Obligations and Implementing Legislation

                 The United States' processes for handling asylum applications are rooted in its

  treaty obligations and implementing statutes. In 1968, the United States accede
                                                                                  d to the 1967
 United Nations Protocol Relating to the Status of Refugees, which "incorporates
                                                                                 by reference
 Articles 2 through 34 of the United Nations Convention Relating to the Status
                                                                               of
 Refugees." INS. v. Aguirr e-Agui rre, 526 U.S. 415,42 7 (1999). Article 34 of
                                                                               the Convention
 provides that "[t]he Contracting States shall as far as possible facilitate the assimil
                                                                                         ation and
 naturalization of refugees" and "make every effort to expedite naturalization proceed
                                                                                       ings and to
 reduce as far as possible the charges and costs of such proceedings." 189 U.N.T.
                                                                                  S. 150 (July 28,
 1951 ). Congress implemented the principles of Article 34 in amendments to the
                                                                                Immigration
 and Nationality Act ("INA"), particularly the 1980 Refugee Act, by providing
                                                                              a framework for
 discretionary grants of asylum to refugees by the Executive Branch. See INS.
                                                                              v. Cardoza-
 Fonseca, 480 U.S. 421,44 1 (1987).

            c. Statutory Framework for Mandatory Detention

                According to statute, arriving aliens seeking asylum are subject to mandatory

detention during the pendency of their applications for asylum. 8 U.S.C. § 1225(b
                                                                                  )(l)(B)(ii) ("If
the [~sylum] officer determines at the time of the interview that an alien has a
                                                                                 credible fear of
persecution ... , the alien shall be detained for further consideration of the applica
                                                                                       tion for
asylum."). Also, according to statute, the only means of release from detention
                                                                                is a provision for
parole within the unreviewable discretion of the Department of Homeland Securit
                                                                                y on two
grounds: "urgent humanitarian reasons," and "significant public benefit." 8 U.S.C.

§ 1182(d)(5)(A); see also 8 C.F.R. §§ 212.5(b) and (c), 235.3(b)(2)(iii) and
                                                                             (4)(ii) (describing
situations in which parole may be appropriate). There is no provision for a hearing
                                                                                    , a record, or




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     disclosure of the reasons for a decision, and no provision for appeal, either admini
                                                                                          stratively or to
     a court of record.

        II. Analysis

                a. Habeas Corpus Jurisdiction

                    A district court may "grant a writ of habeas corpus whenever a petitioner is 'in

    custody in violation of the Constitution or laws or treaties of the United States.
                                                                                       "' Wang v.
    Ashcroft, 320 F.3d 130, 140 (2d Cir. 2003) (quoting 28 U.S.C. § 2241).

                b. Mandatory Detention Provided by Statute

                    In Jennings v. Rodriguez, 138 S. Ct. 830 (2018), the Supreme Court held that
                                                                                                 the
    removal provisions of the INA that apply to the detention of aliens seeking to
                                                                                   enter or remain in
    the United States, 8 U.S.C. §§ 1225(b), 1226(a),(c), do not require periodic bond
                                                                                      hearings. The
    Court remanded the case to the Ninth Circuit for it to consider whether the Due
                                                                                    Process Clause
    constitutionally requires bond hearings for several categories of aliens, includi
                                                                                      ng non-resident
    aliens arriving at the U.S. border and detained pending resolution of their asylum
                                                                                       claims pursuant
 to 8 U.S.C. § 1225(b). 1 138 S. Ct. at 851. Jennings also vacated a Second Circuit
                                                                                    decision that
 had held that 8 U.S.C. § 1226(c), pertaining to aliens who were subjected to remova
                                                                                     l proceedings
because of prior convictions, was sufficiently ambiguous to require a bond hearing
                                                                                   if detention
lasted beyond six months. Shanahan v. Lora, 138 S. Ct. 1260, 200 L. Ed. 2d
                                                                           415 (2018)
(vacating Lora v. Shanahan, 804 F.3d 601 (2d Cir. 2015)).

                   This case squarely presents the constitutional question (among others) not

answered in Jennings: whether an indefinitely lengthy detention of a non-resident
                                                                                  alien seeking



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 The Ninth Circuit, in turn, remanded to the district court. Rodriguez v. Marin,
                                                                                 909 F.3d 252,
257 (9th Cir. 2018).


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 asylum without a bond hearing violates the Due Process Clause of the Fifth Amend
                                                                                  ment. See
 8 U.S.C. § 1225(b)(l)(B)(ii).

             c. Scope of Due Process Protection

                 "Freedom from impris onmen t-from government custody, detention, or other

 forms of physical restrai nt-lies at the heart of the liberty that [due process] protect
                                                                                          s," even with
 respect to detainees who have no legal right to be present in the United States.
                                                                                  Zadvydas v.
 Davis, 533 U.S. 678, 690 (2001). Detention in connection with immigration proceed
                                                                                   ings is
 permissible only in "certain special and narrow nonpunitive circumstances, ...
                                                                                , where a special
 justification ... outweighs the 'individ ual's constitutionally protected interest
                                                                                    in avoiding
 physical restraint."' Zadvydas, 533 U.S. at 690 (quoting Kansas v. Hendricks,
                                                                               521 U.S. 346,35 6
 (1997)). Thus, "[m]any courts ... have found that [individuals detained pursuan
                                                                                 t to§ 1225(b)]
have Due Process rights that require courts to consider challenges to the length
                                                                                 of their
detentions, even if the detainees' rights are limited in other respects." Perez v.
                                                                                   Decker, No. 18-
CV-5279 (VEC), 2018 WL 3991497, at *3 (S.D.N.Y. Aug. 20, 2018) (Caproni,
                                                                         J.).

                The government contends, relying on Shaughnessy v. United States ex rel. Mezei,

345 U.S. 206 (1953), that arriving non-resident aliens have no rights beyond those
                                                                                   which a
statute may provide. As Mezei ruled, "an alien on the threshold of initial entry
                                                                                 stands on a
different footing [from an alien who has effected entry into the United States]
                                                                                : 'Whate ver the
procedure authorized by Congress is, it is due process as far as an alien denied
                                                                                 entry is
concer ned."' 345 U.S. at 212 (quoting US. ex rel. Knauff v. Shaughnessy, 338
                                                                              U.S. 537, 544
(1950) (holding that the Attorney General's decision to exclude the alien spouse
                                                                                 of an honorably
discharged member of the armed forces was conclusive and unreviewable)).




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                In Mezei, the petitioner, who had resided lawfully in the United States for twenty-

 five years before traveling "behind the Iron Curtain" for almost two years, id. at 214, was denied

 admissio n to the United States in February 1950. Id. at 208. In May 1950, as the Cold War

 between the United States and the Union of Soviet Socialist Republics was intensifying, the

 Attorney General, acting under emergenc y regulations promulga ted by the President, ruled that

 Mezei's entry would be "prejudic ial to the public interest for security reasons." Id. Because no

 other country would accept Mezei, he was held on Ellis Island for 21 months without a bond

 hearing. Id. The Supreme Court held that there was no constitutional violation. Id. at 213-215.

                The Supreme Court, in Zadvydas, expressly declined to consider if "subsequ ent

 developments have undermin ed Mezei's legal authority." 533 U.S. at 694. The petitioners in

Zadvydas were resident foreign nationals subject to final removal orders based on their prior

 criminal convictions. 533 U.S. at 678. The United States, unable to arrange repatriation to their

home countries, held them indefinitely pursuant to the post-removal-period detention statute,

8 U.S.C. § 123 l(a)(6). Id. at 682. Interpreting the statute in light of due process concerns, the

Supreme Court held that it "implicit ly limits an alien's detention to a period reasonably

necessary to bring about that alien's removal from the United States, and does not permit

indefinite detention." Id. at 679. The Court found Mezei, to the extent it is good law,

inapplicable because the petitioners in Zadvydas had effected an entry into the United States,

whereas Mezei was detained upon arrival and "'treated, ' for constitutional purposes, 'as if

stopped at the border."' Id. at 693 (quoting Mezei, 345 U.S. at 213). Thus, the Supreme Court

applied the Mezei distinction, while raising the question of whether Mezei remains good law.

               Petitioner, although he is being held in the United States, is considered "on the

threshold of initial entry" for immigrat ion purposes. See Leng May Ma v. Barber, 357 U.S. 185,




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  188 (1958) ("[D]etention of an alien in custody pending determination of his admissibility
                                                                                             does
 not legally constitute an entry though the alien is physically within the United States.")
                                                                                            . The
 issue in this case, therefore, is whether the due process principles of Zadvydas apply to
                                                                                           this case,
 or whether, instead, Mezei forecloses their application.

                Mezei was decided in the interest of national security, against a petitioner whose

 detention was authorized under "emerge ncy regulations promulgated pursuan t to the Passpor
                                                                                             t
 Act." 345 U.S. at 214-15. Congress had permitted such regulations to be promulgated
                                                                                     "during
 periods of international tension and strife," 345 U.S. at 210, and the Attorney General 's
                                                                                            authority
 to detain Mezei indefinitely arose from President Roosev elt's proclamation of a national

 emergency for World War II on May 27, 1941. 345 U.S. at 210 n.7. Eight days after the
                                                                                       death
 of Joseph Stalin, with the Korean War raging, and with a new national emergency in place
                                                                                          by
 virtue of a Decemb er 1950 proclamation by President Truman, see Kent v. Dulles, 357
                                                                                      U.S. 116,
 137-38 (1958), that authority "continue[d] in effect during the present emergen cy." Mezei,
                                                                                             345
U.S. at 210. Under the circumstances, the Court found such authority constitutionally

permissible. It relied heavily on its decision three years earlier in Knauff, in which the
                                                                                           Court had
emphasized that a "state of war still exist[ed]." 338 U.S. at 546.

                It is well-established that national security concerns affect the scope of due

process. Determining what process is due requires weighing, inter alia, and, as appropr
                                                                                        iate, "the
Govern ment's interest ... in detaining those who actually pose an immediate threat to the

national security of the United States during ongoing international conflict." Hamdi v.
                                                                                        Rumsfeld,
542 U.S. 507, 530 (2004); see also United States v. Salerno, 481 U.S. 739, 748 (1987)
                                                                                      ("[I]n
times of war or insurrection, when society' s interest is at its peak, the Government may
                                                                                          detain
individuals whom the government believes to be dangerous."); Andrews v. Knowlton, 509
                                                                                      F.2d




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    898, 904 (2d Cir. 1975) ("[I]n particularly vital and sensitive areas of government concern
                                                                                                such
    as national security ... , the private [due process] interest must yield to a greater degree
                                                                                                 to the
    governmental.") (internal citations omitted).

                   The world remains threatening to the United States' interests, but we are far from

    the dark climate of World War II and the Korean and Vietnamese wars. As the Sixth Circuit

    held en bane, Mezei is limited to the national security context in which it was decided. See

    Rosales-Garcia v. Holland, 322 F.3d 386, 413-414 (6th Cir. 2003) (en bane) ("[T]he Mezei

    Court explicitly grounded its decision in the special circumstances of a national emergen
                                                                                              cy and
    the determination by the Attorney General that Mezei presented a threat to national security
                                                                                                 .");
    see also Borrero v. A/jets, 325 F.3d 1003, 1010 (8th Cir. 2003) (Heaney, J., dissenting) (quoting

    same); Jennings, 138 S. Ct. at 867 (Breyer, J., dissenting) (emphasizing the Attorney General
                                                                                                  's
 "particularized" findings "not only that Mezei was a security risk and consequently not entitled

 to either admission or bail, but also that he could be denied a hearing on the matter because
                                                                                               the
 basis for that decision could not be disclosed without harm to national security"); Jean v.
                                                                                             Nelson,
 472 U.S. 846, 872 (1985) (Marshall, J., dissenting) ("The narrow question decided in Knauff
                                                                                             and
Mezei was that the denial of a hearing in a case in which the Government raised national
                                                                                         security
concerns did not violate due process."); Rodriguez-Fernandez v. Wilkinson, 654 F.2d 1382,
                                                                                          1388
(10th Cir. 1981) (distinguishing Mezei on several grounds, including that "security risks
                                                                                          and
enemy aliens during wartime have always been treated specially"). 2



2
  Before Zadvydas, the Second Circuit applied Mezei to an excludable entrant among the Cuban
"Mariel" boat people. See Guzman v. Tippy, 130 F.3d 64 (2d Cir. 1997). United States District
Judge Richard J. Sullivan, in a recent opinion, held that Mezei had to be followed. See Poorif
                                                                                               ani
v. Shanahan, 319 F. Supp. 3d 644, 647 (S.D.N.Y. 2018) (Sullivan, J.) (denying habeas petition
                                                                                                  of
an arriving alien who had been detained pursuant to section 1225(b) for eighteen months
                                                                                         without
a bond hearing while his asylum application was considered); see also Aracely, R. v. Nielsen,
319 F. Supp. 3d 110, 145 (D.D.C. 2018) (Contreras, J.) ("While Mezei may be under siege,
                                                                                            it is

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                 Here, Petitioner is not alleged to present national security concerns and is not

 being held pursuant to emergency regulations. The government asserted at oral argumen
                                                                                       t that all
 immigration proceedings implicate the government's national security interest, but it has
                                                                                           not
 alleged that Petitioner's case gives rise to any particularized national security concerns.
                                                                                             By
 contrast, the proceedings against the petitioner in Mezei were "grounded on danger to the

 national security." 345 U.S. at 216. Although the government in Mezei would not disclose
                                                                                          its
 evidence of such danger, it claimed that disclosing the evidence "would jeopardize the safety
                                                                                               of
 the Nation." Id. at 217 (Black, J., dissenting). The government has made no such

 representations with respect to Petitioner's case, and the generalized national security interest
                                                                                                   it
 articulates is insufficient to trigger the reduction of due process protections recognized in
                                                                                               Mezei.
 Accordingly, assuming Mezei remains good law, it does not control.

                 This nation prides itself on its humanity and openness with which it treats those

 who seek refuge at its gates. By contrast, the autocracies of the world have been marked
                                                                                          by
 harsh regimes of exclusion and detention. Our notions of due process nourish the former
                                                                                         spirit
 and brace us against the latter. The statutory framework governing those who seek refuge,
                                                                                           and
 its provisions for detention, cannot be extended to deny all right to bail.

                34 months of detention is too long without an opportunity for bail. See Perez,

2018 WL 3 991497, at *3 (holding that the nine-month detention of an arriving non-resident
                                                                                           alien
was unconstitutional). Petitioner enjoys the right of appeal, and his right to asylum and

admission into the United States remains open. His right to liberty is as valuable to him
                                                                                          as it is



still good law .... "). Other cases have taken a different view. See, e.g., Perez, 2018 WL
3991497, at *6; Lett v. Decker, No. 18-CV-4302 (JCM), 2018 WL 4931544, at *4 (S.D.N.Y
                                                                                            .
Oct. 10, 2018); Pierre v. Doll, No. 3:17-CV-1507, 2018 WL 5315203, at *4 (M.D. Pa. Oct.
                                                                                            26,
2018) (Mariani, J.); Destine v. Doll, No. 3:17-CV-1340, 2018 WL 3584695, at *4 (M.D.
                                                                                         Pa. July
26, 2018) (Caputo, J.).


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 to any U.S. citizen, and he has a constitutional right to a bail hearing that should no longer
                                                                                                be
 denied to him.

            d. The Burden of Proof at a Bond Hearing

                  Lora v. Shanahan held that detainees must be admitted to bail "unless the

government establishes by clear and convincing evidence that the immigrant poses a risk
                                                                                        of
flight or a risk of danger to the community." 804 F.3d at 616; Rodriguez v. Robbins, 715
                                                                                         F.3d
1127, 1130 (9th Cir. 2013); see also Hernandez v. Decker, 2018 WL 3579108, at *10-*11
                                                                                      ;
Sajous, 2018 WL 2357266 at *12; Perez v. Decker, No. 18-cv-5279 (VEC), 2018 WL 3991497
                                                                                       ,
at *6 (S.D.N.Y. Aug. 20, 2018). There is no merit to the government's argument that the
                                                                                        normal
burden of proof should shift to petitioner.

  III. Conclusion

                  Petitioner is entitled to a bond hearing at which the government must show, by

clear and convincing evidence, that Petitioner's dangerousness or flight risk justifies his

continued detention. Respondents are ordered to provide Petitioner such a hearing within

fourteen days of this order. The clerk shall enter judgme nt accordingly and close the case.

         SO ORDERED.

Dated:         Decem b~f201 8
               New York,t~ ~ York
                                                              United States District Judge




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